                    Case 24-41831                  Doc 1             Filed 07/12/24 Entered 07/12/24 14:59:16                               Desc Main
                                                                       Document Page 1 of 76
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                 District of Minnesota

 Case number (If known):                           Chapter you are filing under:
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ✔
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Linda
       Write the name that is on your         First name                                                      First name
       government-issued picture
                                               Rose
       identification (for example, your
                                              Middle name                                                     Middle name
       driver’s license or passport).
                                               Bryant
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.

                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as
       names.
                                              Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 2           8    4   2                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Linda               Rose                        Bryant                                         Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          6310 98th Lane N. SPC I
                                          Number            Street                                        Number           Street




                                          Brooklyn Park, MN 55445-2380
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Hennepin
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Linda              Rose                    Bryant                                         Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ❑      Chapter 7
                                       ❑      Chapter 11
                                       ❑      Chapter 12
                                       ✔
                                       ❑      Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an               District                                      When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                Debtor                                                                  Relationship to you

                                                District                                      When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                 ❑ No. Go to line 12.
                                                 ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Linda                  Rose                    Bryant                                         Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                               City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
      11 of the Bankruptcy Code,           appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
      and are you a small business         sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
      debtor?                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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 Debtor 1           Linda               Rose                    Bryant                                       Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Linda               Rose                    Bryant                                         Case number (if known)
                    First Name          Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ❑ I received a briefing from an approved credit
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                     certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a            filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                     certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
                                            plan, if any.                                                  plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                     from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                     made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                         merit a 30-day temporary waiver of the
                                            requirement.                                                   requirement.
                                            To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you          what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                  were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
                                            required you to file this case.                                required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                         counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental              ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                            ❑ Disability.      My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military               ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.


Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
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 Debtor 1           Linda                 Rose                     Bryant                                           Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ❑ No. Go to line 16b.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ❑ Yes. Go to line 17.
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ✔
                                             ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any         ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ❑ No
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔ 1-49
                                              ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑ 50-99           ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ✔ $100,001-$500,000
                                              ❑                                    ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ✔ $500,001-$1 million
                                              ❑                                    ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ s/ Linda Rose Bryant
                                       Linda Rose Bryant, Debtor 1
                                       Executed on 07/12/2024
                                                        MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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 Debtor 1           Linda                   Rose                    Bryant                                         Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ s/ Andrew Walker                                                     Date 07/12/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Andrew Walker
                                                   Printed name

                                                   Walker & Walker Law Offices, PLLC
                                                   Firm name

                                                   4356 Nicollet Ave
                                                   Number          Street




                                                   Minneapolis                                                     MN       55409
                                                   City                                                            State   ZIP Code




                                                   Contact phone (612) 824-4357                      Email address andrew@bankruptcytruth.com


                                                   0392525                                                         MN
                                                   Bar number                                                      State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
                  Case 24-41831                       Doc 1            Filed 07/12/24 Entered 07/12/24 14:59:16                                                    Desc Main
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Linda                        Rose                         Bryant
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the: District of                 Minnesota

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      Lot 41, Block 11, CIC No.                        ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                 1702, Liberty Oaks 2nd                           ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.

                 Addition, Hennepin County,                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                 Minnesota.                                       ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property
                Street address, if available, or other                                                                                             $382,200.00                 $382,200.00
                description
                                                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                 6310 98th Lane N. SPC I                          ✔ Other Townhome
                                                                  ❑                                                                    (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                 Brooklyn Park, MN
                 55445-2380                                       ✔ Debtor 1 only
                                                                  ❑                                                                     Fee Simple
                                                                  ❑ Debtor 2 only
                City               State         ZIP Code
                                                                  ❑ Debtor 1 and Debtor 2 only                                         ❑ Check if this is community property
                                                                                                                                            (see instructions)
                 Hennepin                                         ❑ At least one of the debtors and another
                County

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

                                                                  Source of Value: Zillow



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                               $382,200.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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Debtor Bryant, Linda Rose                                                                                                   Case number (if known)



 3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       ❑ No
       ✔ Yes
       ❑

       3.1     Make:                           GMC               Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          Denali            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2019              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            93,000            ❑ Check if this is community property (see                                         $16,943.00                  $16,943.00
                                                                      instructions)
               Other information:




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $16,943.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                          $4,000.00
                                            Usual household goods and furniture




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
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 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            3 TVs - $350
                                    iPhone 13 Cellphone - $100                                                                                      $500.00
                                    Macbook (broken)- $50

 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                           $1,000.00
                                    Regular wearing apparel


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                            $150.00
                                    Costume Jewelry - $150


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........




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 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                          $5,650.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                           Cash: ...................                   $57.00


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           Checking account with Wings Financial ending in 1305                                                          $102.82

                                             17.2. Checking account:                           Checking account with Wings Financial ending in 5297                                                        $1,067.00

                                             17.3. Savings account:                            Savings account with Wings Financial ending in 2900                                                           $401.34

                                             17.4. Other financial account:                    CashApp                                                                                                          $3.00

                                             17.5. Other financial account:                    Health Savings Account                                                                                           $0.00

                                             17.6. Other financial account:                    PayPal - Zero balance                                                                                            $0.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




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 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
          information about
          them....................   Name of entity:                                                        % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
          information about
          them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
          account separately. Type of account:                 Institution name:

                                     401(k) or similar plan:

                                     Pension plan:

                                     IRA:

                                     Retirement account:

                                     Keogh:

                                     Additional account:

                                     Additional account:




Official Form 106A/B                                                      Schedule A/B: Property                                                 page 5
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 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                      Schedule A/B: Property                                                       page 6
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 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes. Give specific information about
       ❑
                them, including whether you
                                                     Estimated 2024 federal income tax refund                Federal:                                $334.00
                already filed the returns and
                the tax years. ...................   Estimated 2024 MN state income tax refund               State:                                  $145.00

                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ❑ No
       ✔ Yes. Give specific information. ........
       ❑                                                                                                                                          $2,027.00
                                                     Estimated earned unpaid wages




Official Form 106A/B                                               Schedule A/B: Property                                                             page 7
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 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                        Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $4,137.16



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ❑ No. Go to Part 6.
       ✔ Yes. Go to line 38.
       ❑
                                                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                     claims or exemptions.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                       page 8
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 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                  $800.00
                                     Tools


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




Official Form 106A/B                                             Schedule A/B: Property                                                    page 9
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 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $800.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                   page 10
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 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                     $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                    $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔          $382,200.00


 56.   Part 2: Total vehicles, line 5                                                                              $16,943.00

 57.   Part 3: Total personal and household items, line 15                                                           $5,650.00

 58.   Part 4: Total financial assets, line 36                                                                       $4,137.16

 59.   Part 5: Total business-related property, line 45                                                                 $800.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                           $27,530.16              Copy personal property total             ➔      +    $27,530.16



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                  $409,730.16




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                  page 11
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 Fill in this information to identify your case:

  Debtor 1            Linda                   Rose                  Bryant
                      First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the: District of      Minnesota

  Case number
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and         Current value of the      Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this          portion you own
       property                                                                Check only one box for each exemption.
                                                     Copy the value from
                                                     Schedule A/B

       Brief             Lot 41, Block 11,                 $382,200.00
       description:      CIC No. 1702,
                         Liberty Oaks 2nd
                         Addition, Hennepin
                         County, Minnesota.
                         6310 98th Lane N. SPC I
                         Brooklyn Park, MN
                         55445-2380                                            ✔
                                                                               ❑       $108,742.00                           Minn. Stat. §§ 510.01, 510.02
       Line from                                                               ❑ 100% of fair market value, up to
       Schedule A/B:        1.1                                                     any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                              page 1 of 2
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Debtor 1            Linda                 Rose                Bryant                         Case number (if known)
                First Name               Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief              Usual household                   $4,000.00
     description:       goods and
                        furniture                                         ✔
                                                                          ❑        $4,000.00                          Minn. Stat. § 550.37(4)(b)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          6                                                 any applicable statutory limit

     Brief              3 TVs - $350                        $500.00
     description:       iPhone 13
                        Cellphone - $100
                        Macbook (broken)-
                        $50                                               ✔
                                                                          ❑         $350.00                           Minn. Stat. § 550.37(4)(b)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          7                                                 any applicable statutory limit

     Brief              Regular wearing                   $1,000.00
                                                                          ✔
     description:       apparel                                           ❑        $1,000.00                          Minn. Stat. § 550.37(4)(a)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          11                                                any applicable statutory limit

     Brief              Health Savings                         $0.00
     description:       Account
                        Other financial account                           ✔
                                                                          ❑          $0.00                            Minn. Stat. § 550.37(26)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit

     Brief              Estimated earned                  $2,027.00
     description:       unpaid wages                                      ✔
                                                                          ❑        $1,520.00                          Minn. Stat. § 571.921, 922,
     Line from                                                            ❑   100% of fair market value, up to
                                                                                                                      550.37(13)
     Schedule A/B:          30                                                any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                        page 2 of 2
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 Fill in this information to identify your case:

     Debtor 1           Linda                 Rose                    Bryant
                        First Name            Middle Name            Last Name

     Debtor 2
     (Spouse, if filing) First Name           Middle Name            Last Name

     United States Bankruptcy Court for the: District of     Minnesota

     Case number (if
     known)                                                                                                                                 ❑ Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor           Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other         Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the    Do not deduct the
                                                                                                                                    that supports this    portion
         creditor’s name.                                                                                    value of collateral.
                                                                                                                                    claim                 If any

     2.1 ALLY FINANCIAL                                Describe the property that secures the claim:                  $26,174.00           $16,943.00       $9,231.00
         Creditor’s Name
                                                       2019 GMC Denali
          PO BOX 380901
         Number          Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
          BLOOMINGTON, MN 55438                        ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ✔ An agreement you made (such as mortgage or secured car loan)
                                                       ❑
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred                        Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                    $26,174.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 2
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                First Name            Middle Name             Last Name


                                                                                                        Column A               Column B                Column C
                Additional Page                                                                         Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                     that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                 Do not deduct the
                followed by 2.4, and so forth.                                                          value of collateral.
                                                                                                                               claim                   If any

  2.2 ASSOCIA MINNESOTA                          Describe the property that secures the claim:                   unknown             $382,200.00                $0.00
      Creditor’s Name
                                                 Lot 41, Block 11, CIC No. 1702, Liberty Oaks 2nd Addition, Hennepin County, Minnesota.
       7100 NORTHLAND CIRCLE
                                                 6310 98th Lane N. SPC I Brooklyn Park, MN 55445-2380
       NORTH # 300
      Number         Street                      As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       BROOKLYN PARK, MN 55428
                                                 ❑ Unliquidated
      City              State      ZIP Code
                                                 ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

  2.3 PENNYMAC LOAN SERVICES                     Describe the property that secures the claim:               $273,458.00             $382,200.00                $0.00
       LLC
      Creditor’s Name                            Lot 41, Block 11, CIC No. 1702, Liberty Oaks 2nd Addition, Hennepin County, Minnesota.
                                                 6310 98th Lane N. SPC I Brooklyn Park, MN 55445-2380
       ATTN: CORRESPNDENCE UNIT
                                                 As of the date you file, the claim is: Check all that apply.
       PO BOX 514387
      Number         Street                      ❑ Contingent
                                                 ❑ Unliquidated
       LOS ANGELES, CA 90051
                                                 ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $273,458.00
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                             $299,632.00
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 2
                 Case 24-41831                 Doc 1          Filed 07/12/24 Entered 07/12/24 14:59:16                                      Desc Main
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 Fill in this information to identify your case:

  Debtor 1            Linda                   Rose                     Bryant
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the: District of        Minnesota

  Case number
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 INTERNAL REVENUE SERVICE                          Last 4 digits of account number                                       $38,000.00       $38,000.00            $0.00
        Priority Creditor’s Name
                                                        When was the debt incurred?
         PO BOX 7346
        Number         Street
                                                        As of the date you file, the claim is: Check all that apply.

         PHILADELPHIA, PA 19101-7346                    ❑ Contingent
        City               State          ZIP Code      ❑ Unliquidated
                                                        ❑ Disputed
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑                                               Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                 ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                    ✔ Taxes and certain other debts you owe the government
                                                        ❑
        ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
        ❑ Check if this claim is for a                  ❑ Other. Specify
            community debt

        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 12
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Debtor 1        Linda                   Rose                 Bryant                           Case number (if known)
               First Name               Middle Name         Last Name


   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.           Total claim     Priority     Nonpriority
                                                                                                                                  amount       amount
  2.2 MINNESOTA DEPARTMENT OF                      Last 4 digits of account number                                    $2,000.00    $2,000.00        $0.00
       REVENUE
                                                   When was the debt incurred?
      Priority Creditor’s Name
       551 BKCY SECTION
       PO BOX 64447                                As of the date you file, the claim is: Check all that apply.
      Number           Street                      ❑ Contingent
       ST PAUL, MN 55164                           ❑ Unliquidated
      City                State         ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.            Type of PRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                            ❑ Domestic support obligations
      ❑ Debtor 2 only                              ✔ Taxes and certain other debts you owe the government
                                                   ❑
      ❑ Debtor 1 and Debtor 2 only                 ❑ Claims for death or personal injury while you were intoxicated
      ❑ At least one of the debtors and another    ❑ Other. Specify
      ❑ Check if this claim is for a
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  2.3 WALKER & WALKER LAW                          Last 4 digits of account number                                    $3,488.00    $3,488.00        $0.00
       OFFICES, PLLC
                                                   When was the debt incurred?
      Priority Creditor’s Name
       4356 NICOLLET AVE
      Number           Street                      As of the date you file, the claim is: Check all that apply.
                                                   ❑ Contingent
       MINNEAPOLIS, MN 55409                       ❑ Unliquidated
      City                State         ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.            Type of PRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                            ❑ Domestic support obligations
      ❑ Debtor 2 only                              ❑ Taxes and certain other debts you owe the government
      ❑ Debtor 1 and Debtor 2 only                 ❑ Claims for death or personal injury while you were intoxicated
      ❑ At least one of the debtors and another    ✔ Other. Specify Attorney Fees
                                                   ❑
      ❑ Check if this claim is for a
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 12
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Debtor 1           Linda                   Rose                     Bryant                            Case number (if known)
                  First Name               Middle Name             Last Name


      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 AMAZON PRIME                                                       Last 4 digits of account number                                                       unknown
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         1260 MERCER ST
         Number              Street
                                                                         As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
         SEATTLE, WA 98109                                               ❑ Unliquidated
         City                     State                    ZIP Code      ❑ Disputed
         Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
         ✔ Debtor 1 only
         ❑                                                               ❑ Student loans
         ❑ Debtor 2 only                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ❑ Debtor 1 and Debtor 2 only                                        priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Consumer Debt
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
  4.2 AMERICAN EXPRESS                                                   Last 4 digits of account number                                                       $1,250.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         GENERAL INQUIRIES
         PO BOX 981535                                                   As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
         Number              Street
         EL PASO, TX 79998-1535                                          ❑ Unliquidated
         City                     State                    ZIP Code      ❑ Disputed
         Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
         ✔ Debtor 1 only
         ❑                                                               ❑ Student loans
         ❑ Debtor 2 only                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ❑ Debtor 1 and Debtor 2 only                                        priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Credit Card
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




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Debtor 1        Linda                   Rose                Bryant                          Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 BARCLAYS BANK DELAWARE                                     Last 4 digits of account number                                                 $8,583.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       125 S WEST ST
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       WILMINGTON, DE 19801-5014                                 ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Consumer Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 BEST BUY/CBNA                                              Last 4 digits of account number                                                 $1,806.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       MAIL CODE 234
       5800 S CORPORATE PL                                       As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       SIOUX FALLS, SD 57108-5027                                ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4 of 12
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Debtor 1        Linda                   Rose                 Bryant                          Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 CAPITAL ONE BANK (USA), N.A.                               Last 4 digits of account number                                                  $4,277.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      ATTN: GENERAL CORRESPONDENCE
      PO BOX 30285                                               As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      SALT LAKE CITY, UT 84130-0285                              ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Consumer Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 CITI BANK N.A.                                             Last 4 digits of account number                                                 $10,923.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      GENERAL CORRESPONDENCE
      PO BOX 6500                                                As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      SIOUX FALLS, SD 57117                                      ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Consumer Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Linda                   Rose                Bryant                          Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.7 DISCOVER BANK                                              Last 4 digits of account number                                                   $471.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO BOX 15316
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       WILMINGTON, DE 19850-5316                                 ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Consumer Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.8 FNB OMAHA                                                  Last 4 digits of account number                                                   $312.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO BOX 3128
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       OMAHA, NE 68103-0128                                      ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Consumer Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Linda                   Rose                 Bryant                          Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.9 GOLDMAN SACHS BANK USA                                     Last 4 digits of account number                                                     $72.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      200 WEST ST
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      NEW YORK, NY 10282-2102                                    ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Consumer Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.10 JPMCB - CARD SERVICES                                       Last 4 digits of account number                                                 $14,193.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      301 N WALNUT ST FL 09
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      WILMINGTON, DE 19801-3971                                  ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Linda                   Rose                 Bryant                          Case number (if known)
                First Name              Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.11 M HEALTH FAIRVIEW                                           Last 4 digits of account number                                                   $1,900.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      400 STINSON BLVD NE
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      MINNEAPOLIS, MN 55413-2613                                 ❑ Unliquidated
      City                   State                    ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Medical Bill
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.12 MOHELA/DEPT OF ED                                           Last 4 digits of account number                                                $133,191.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      633 SPIRIT DR
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      CHESTERFIELD, MO 63005-1243                                ❑ Unliquidated
      City                   State                    ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Linda                   Rose                 Bryant                          Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.13 NELNET EDUCATION                                            Last 4 digits of account number                                                 $12,403.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      GENERAL CORRESPONDENCE
      PO BOX 82561                                               As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      LINCOLN, NE 68501-2561                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.14 PROSPER FUNDING LLC                                         Last 4 digits of account number                                                 $29,513.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      221 MAIN ST STE 300
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      SAN FRANCISCO, CA 94105-1909                               ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Consumer Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9 of 12
               Case 24-41831               Doc 1        Filed 07/12/24 Entered 07/12/24 14:59:16                                Desc Main
                                                         Document Page 33 of 76
Debtor 1        Linda                   Rose                 Bryant                          Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.15 SAMS CLUB/SYNCHRONY BANK                                    Last 4 digits of account number                                                  $1,375.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      ATTN: BANKRUPTCY DEPT
      PO BOX 965060                                              As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      ORLANDO, FL 32896-5060                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.16 TARGET/TD BANK, USA, N.A.                                   Last 4 digits of account number                                                 $14,196.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      ATTN: TARGET CARD SERVICES
      PO BOX 1331                                                As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      MINNEAPOLIS, MN 55440-1331                                 ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 10 of 12
              Case 24-41831                Doc 1       Filed 07/12/24 Entered 07/12/24 14:59:16                                 Desc Main
                                                        Document Page 34 of 76
Debtor 1        Linda                   Rose                Bryant                          Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.17 THD/CBNA                                                   Last 4 digits of account number                                                   $340.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       ONE COURT SQUARE
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       LONG ISLAND CITY, NY 11120-0001                           ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.18 US BANK                                                    Last 4 digits of account number                                                 $9,363.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       800 NICOLLET MALL
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       MINNEAPOLIS, MN 55402                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Consumer Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 11 of 12
                Case 24-41831                 Doc 1         Filed 07/12/24 Entered 07/12/24 14:59:16                          Desc Main
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Debtor 1          Linda                   Rose                   Bryant                      Case number (if known)
                  First Name             Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.    Domestic support obligations                                6a.                           $0.00
 from Part 1
                   6b.    Taxes and certain other debts you owe the government        6b.                      $40,000.00

                   6c.    Claims for death or personal injury while you were          6c.                           $0.00
                          intoxicated

                   6d.    Other. Add all other priority unsecured claims.             6d.   +                   $3,488.00
                          Write that amount here.

                   6e.    Total. Add lines 6a through 6d.                             6e.
                                                                                                              $43,488.00



                                                                                                Total claim

 Total claims      6f.    Student loans                                               6f.                           $0.00
 from Part 2
                   6g.    Obligations arising out of a separation agreement or        6g.                           $0.00
                          divorce that you did not report as priority claims

                   6h.    Debts to pension or profit-sharing plans, and other         6h.                           $0.00
                          similar debts

                   6i.    Other. Add all other nonpriority unsecured claims.          6i.   +                 $244,168.00
                          Write that amount here.

                   6j.    Total. Add lines 6f through 6i.                             6j.
                                                                                                           $244,168.00




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    page 12 of 12
                           Case 24-41831                 Doc 1         Filed 07/12/24 Entered 07/12/24 14:59:16                           Desc Main
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 Fill in this information to identify your case:

     Debtor 1                       Linda                Rose              Bryant
                                    First Name           Middle Name      Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name      Last Name

     United States Bankruptcy Court for the:                            District of Minnesota

     Case number                                                                                                                          ❑ Check if this is an
     (if known)                                                                                                                               amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of 1
                Case 24-41831                    Doc 1     Filed 07/12/24 Entered 07/12/24 14:59:16                                 Desc Main
                                                            Document Page 37 of 76
 Fill in this information to identify your case:

  Debtor 1           Linda                    Rose                Bryant
                     First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name         Last Name

  United States Bankruptcy Court for the: District of      Minnesota

  Case number
  (if known)                                                                                                                           ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                   . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                     ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                      Column 2: The creditor to whom you owe the debt

                                                                                                     Check all schedules that apply:
 3.1
        Name                                                                                         ❑ Schedule D, line
                                                                                                     ❑ Schedule E/F, line
        Number                          Street
                                                                                                     ❑ Schedule G, line
        City                                       State                                ZIP Code

 3.2
        Name                                                                                         ❑ Schedule D, line
                                                                                                     ❑ Schedule E/F, line
        Number                          Street
                                                                                                     ❑ Schedule G, line
        City                                       State                                ZIP Code




Official Form 106H                                                   Schedule H: Codebtors                                                           page 1 of 1
                        Case 24-41831              Doc 1         Filed 07/12/24 Entered 07/12/24 14:59:16                                Desc Main
                                                                  Document Page 38 of 76
 Fill in this information to identify your case:

  Debtor 1                  Linda                  Rose              Bryant
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name                                                Check if this is:

                                                                  District of Minnesota
                                                                                                                             ❑ An amended filing
                                                                                                                             ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                                   chapter 13 income as of the following date:
  (if known)

                                                                                                                                MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                              Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status           ✔ Employed ❑ Not Employed
                                                                         ❑                                                    ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation                  Director of Programs and Services
     employers.
                                             Employer's name             Northpoint Health & Wellness Center
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address          1313 Penn Ave N
     Occupation may include student                                       Number Street                                        Number Street
     or homemaker, if it applies.




                                                                         Minneapolis, MN 55411
                                                                          City                     State      Zip Code         City                State     Zip Code
                                             How long employed there? 3 years


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.           2.               $8,798.00                     $0.00

 3. Estimate and list monthly overtime pay.                                               3.   +               $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                          4.               $8,798.00                     $0.00




Official Form 106I                                                        Schedule I: Your Income                                                                 page 1
                        Case 24-41831                         Doc 1             Filed 07/12/24 Entered 07/12/24 14:59:16                               Desc Main
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 Debtor 1                 Linda                        Rose                            Bryant                                        Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.           $8,798.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.          $2,232.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.            $529.00                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.           $2,761.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.           $6,037.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.               $0.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $6,037.00     +               $0.00         =         $6,037.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify: Sister's Contributions to Household Expenses                                                                                                      11. +           $750.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $6,787.00
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Fill in this information to identify your case:

  Debtor 1                  Linda                   Rose                 Bryant
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                           District of Minnesota
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                  $1,786.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                    4a.                       $0.00
     4b. Property, homeowner's, or renter's insurance                                                                         4b.                       $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                        4c.                   $250.00
     4d. Homeowner's association or condominium dues                                                                          4d.                   $360.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                     Case 24-41831              Doc 1       Filed 07/12/24 Entered 07/12/24 14:59:16                          Desc Main
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 Debtor 1            Linda                  Rose                 Bryant                                      Case number (if known)
                     First Name             Middle Name          Last Name


                                                                                                                             Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                 $340.00
       6b. Water, sewer, garbage collection                                                                        6b.                  $98.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                 $150.00

       6d. Other. Specify: Cellphone                                                                               6d.                 $220.00
 7.    Food and housekeeping supplies                                                                              7.                  $520.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                  $180.00

 10. Personal care products and services                                                                           10.                 $150.00

 11.   Medical and dental expenses                                                                                 11.                 $150.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                 $600.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                 $180.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                         15a.                      $0.00
       15b. Health insurance                                                                                       15b.                      $0.00
       15c. Vehicle insurance                                                                                      15c.                $155.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2019 GMC Denali                                                             17a.                $581.00
       17b. Car payments for Vehicle 2                                                                             17b.                      $0.00
       17c. Other. Specify:                                                                                        17c.                      $0.00
       17d. Other. Specify:                                                                                        17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify: Contribution to mother's rent                                                                      19.                 $217.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
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 Debtor 1            Linda               Rose                  Bryant                                       Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                              21.    +                $0.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                 $5,937.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                       $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                 $5,937.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                 $6,787.00

      23b. Copy your monthly expenses from line 22c above.                                                        23b.       –         $5,937.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.                  $850.00



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                   page 3
                        Case 24-41831                      Doc 1            Filed 07/12/24 Entered 07/12/24 14:59:16                                                     Desc Main
                                                                             Document Page 43 of 76
 Fill in this information to identify your case:

  Debtor 1                      Linda                       Rose                     Bryant
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                       District of Minnesota

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $382,200.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $27,530.16

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                    $409,730.16



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                            $299,632.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                    $43,488.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +          $244,168.00

                                                                                                                                                  Your total liabilities                  $587,288.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $6,787.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $5,937.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Debtor 1            Linda                 Rose                   Bryant                                            Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                          $9,519.35




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                              $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                 $40,000.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                           $0.00


    9d. Student loans. (Copy line 6f.)                                                                                            $0.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                           $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                     $0.00


    9g. Total. Add lines 9a through 9f.                                                                                    $40,000.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
                        Case 24-41831              Doc 1         Filed 07/12/24 Entered 07/12/24 14:59:16                        Desc Main
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 Fill in this information to identify your case:

  Debtor 1                  Linda                  Rose              Bryant
                            First Name             Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                         District of Minnesota

  Case number                                                                                                                     ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                      Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ s/ Linda Rose Bryant
        Linda Rose Bryant, Debtor 1


        Date 07/12/2024
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                        Case 24-41831              Doc 1         Filed 07/12/24 Entered 07/12/24 14:59:16                            Desc Main
                                                                  Document Page 46 of 76
 Fill in this information to identify your case:

  Debtor 1                  Linda                  Rose              Bryant
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                         District of Minnesota

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
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Debtor 1            Linda             Rose                    Bryant                                         Case number (if known)
                    First Name        Middle Name             Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                                ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
    From January 1 of current year until the
                                                    bonuses, tips                   $60,346.48             bonuses, tips
    date you filed for bankruptcy:
                                                ❑ Operating a business                                 ❑ Operating a business

    For last calendar year:                     ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $95,255.00             bonuses, tips
    (January 1 to December 31, 2023       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business

    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $95,000.00             bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:
    (January 1 to December 31, 2023       )
                                   YYYY



    For the calendar year before that:
    (January 1 to December 31, 2022       )
                                   YYYY




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1            Linda                    Rose                 Bryant                                         Case number (if known)
                    First Name               Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                             Dates of           Total amount paid         Amount you still owe      Was this payment for…
                                                             payment

             PennyMac Loan Services LLC                                                  $5,361.00                                ✔ Mortgage
                                                                                                                                  ❑
             Creditor's Name
                                                                                                                                  ❑ Car
                                                                                                                                  ❑ Credit card
             Attn: Correspndence Unit
             PO Box 514387
             Number      Street
                                                                                                                                  ❑ Loan repayment
                                                                                                                                  ❑ Suppliers or vendors
             Los Angeles, CA 90051
             City                    State      ZIP Code                                                                          ❑ Other

             Ally Financial                                                              $1,743.00                                ❑ Mortgage
             Creditor's Name
                                                                                                                                  ✔ Car
                                                                                                                                  ❑
                                                                                                                                  ❑ Credit card
             PO Box 380901
             Number      Street
                                                                                                                                  ❑ Loan repayment
             Bloomington, MN 55438
             City                    State      ZIP Code                                                                          ❑ Suppliers or vendors
                                                                                                                                  ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.




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Debtor 1             Linda                 Rose                    Bryant                                          Case number (if known)
                     First Name            Middle Name             Last Name

                                                           Dates of            Total amount paid    Amount you still           Reason for this payment
                                                           payment                                  owe



    Insider's Name


    Number       Street




    City                          State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                           Dates of            Total amount paid    Amount you still           Reason for this payment
                                                           payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                      Nature of the case                      Court or agency                                  Status of the case


    Case title                                                                                                                               ❑ Pending
                                                                                             Court Name                                      ❑ On appeal
                                                                                                                                             ❑ Concluded
                                                                                             Number       Street
    Case number

                                                                                             City                      State      ZIP Code




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Debtor 1            Linda                  Rose                    Bryant                                         Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ❑ No. Go to line 11.
    ✔ Yes. Fill in the information below.
    ❑
                                                                    Describe the property                                Date               Value of the property

    Minnesota Department of Revenue                                                                                                                 $10,420.00
    Creditor’s Name

    PO Box 64447
    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
    St Paul, MN 55164                                              ✔ Property was garnished.
                                                                   ❑
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




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Debtor 1             Linda                   Rose                 Bryant                                         Case number (if known)
                     First Name              Middle Name          Last Name

     Gifts with a total value of more than $600            Describe the gifts                                        Dates you gave       Value
     per person                                                                                                      the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                             State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ❑ No
    ✔ Yes. Fill in the details for each gift or contribution.
    ❑
     Gifts or contributions to charities            Describe what you contributed                               Date you              Value
     that total more than $600                                                                                  contributed

    Mighty Forces International                                                                                                                   $3,000.00
    Church
    Charity’s Name




    Number     Street



    City                     State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                            Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1            Linda                Rose                  Bryant                                         Case number (if known)
                    First Name           Middle Name           Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred            Date payment or       Amount of payment
    Walker & Walker Law Offices,                                                                             transfer was made
    PLLC                                        Attorney’s Fee
    Person Who Was Paid                                                                                      7/5/2024                        $12.00
    4356 Nicollet Ave
    Number     Street




    Minneapolis, MN 55409
    City                    State   ZIP Code
    contacts@bankruptcytruth.com
    Email or website address


    Person Who Made the Payment, if Not You
                                                Description and value of any property transferred            Date payment or       Amount of payment
    Credit Counseling                                                                                        transfer was made
    Person Who Was Paid
                                                                                                                                             $15.00
    Number     Street




    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You
                                                Description and value of any property transferred            Date payment or       Amount of payment
    MN Bankruptcy Court                                                                                      transfer was made
    Person Who Was Paid                         Filing Fee
                                                                                                                                            $313.00
    Number     Street




    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




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Debtor 1            Linda                Rose                  Bryant                                        Case number (if known)
                    First Name           Middle Name           Last Name



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of any property transferred           Date payment or       Amount of payment
                                                                                                            transfer was made
    Person Who Was Paid



    Number     Street




    City                    State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of property        Describe any property or payments            Date transfer was
                                                transferred                              received or debts paid in exchange           made

    Person Who Received Transfer



    Number     Street




    City                    State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of the property transferred                                     Date transfer was
                                                                                                                                      made


    Name of trust




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Debtor 1            Linda                Rose                 Bryant                                         Case number (if known)
                    First Name           Middle Name          Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Last 4 digits of account number         Type of account or     Date account was          Last balance
                                                                                        instrument             closed, sold, moved, or   before closing or
                                                                                                               transferred               transfer

    Name of Financial Institution
                                                XXXX–                               ❑ Checking
                                                                                    ❑ Savings
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                    State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else had access to it?                   Describe the contents                       Do you still have
                                                                                                                                          it?

                                                                                                                                         ❑ No
    Name of Financial Institution               Name
                                                                                                                                         ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                    State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 9
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Debtor 1            Linda                Rose                 Bryant                                           Case number (if known)
                    First Name           Middle Name           Last Name

                                                 Who else has or had access to it?            Describe the contents                          Do you still have
                                                                                                                                             it?

                                                                                                                                           ❑ No
    Name of Storage Facility                    Name
                                                                                                                                           ❑ Yes

    Number     Street                           Number    Street



                                                City                 State   ZIP Code

    City                    State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Where is the property?                       Describe the property                          Value



    Owner's Name
                                                Number    Street



    Number     Street

                                                City                 State   ZIP Code



    City                    State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 10
                     Case 24-41831              Doc 1          Filed 07/12/24 Entered 07/12/24 14:59:16                          Desc Main
                                                                Document Page 56 of 76
Debtor 1            Linda                Rose                     Bryant                                       Case number (if known)
                    First Name           Middle Name              Last Name

                                                 Governmental unit                       Environmental law, if you know it              Date of notice



    Name of site                                Governmental unit



    Number       Street                         Number       Street



                                                City                  State   ZIP Code


    City                    State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                       Environmental law, if you know it              Date of notice



    Name of site                                Governmental unit



    Number       Street                         Number       Street



                                                City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Court or agency                         Nature of the case                             Status of the case



    Case title                                                                                                                          ❑ Pending
                                                                                                                                        ❑ On appeal
                                                Court Name


                                                                                                                                        ❑ Concluded
                                                Number       Street


    Case number
                                                City                  State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 11
                      Case 24-41831               Doc 1        Filed 07/12/24 Entered 07/12/24 14:59:16                                  Desc Main
                                                                Document Page 57 of 76
Debtor 1            Linda                 Rose                      Bryant                                           Case number (if known)
                    First Name            Middle Name               Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.
                                                    Describe the nature of the business                      Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:          –

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed


                                                                                                              From                  To

    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 12
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                                                          Document Page 58 of 76
 Debtor 1           Linda               Rose                   Bryant                                       Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ s/ Linda Rose Bryant
        Signature of Linda Rose Bryant, Debtor 1


        Date 07/12/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                   Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 13
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LOCAL FORM 1007-1
REVISED 06/16


                                                     UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF MINNESOTA

In re:         Bryant, Linda Rose                                                           Case No.


                       Debtor(s).


                                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.       Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or
         to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept:                                                            $3,500.00

          Prior to the filing of this statement I have received:                                                    $12.00

          Balance Due                                                                                             $3,488.00

2.       The source of the compensation paid to me was:

                           ✔ Debtor
                           ❑                                        ❑ Other (specify)
3.       The source of the compensation to be paid to me is:

                           ✔ Debtor
                           ❑                                        ❑ Other (specify)
4.       ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
         ❑
               law firm.

         ❑ I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates of my
               law firm. A copy of the agreement, together with a list of the names of the people or entities sharing in the compensation, is attached.

5.       In return for the above-disclosed fee, together with such further fee, if any, as is provided in the written contract required by 11 U.S.C.
         §528(a)(1), I have agreed to render legal service for all aspects of the bankruptcy case, including:

          A.      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

          B.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

          C.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

          D.      Representation of the debtor in contested bankruptcy matters; and

          E.      Other services reasonably necessary to represent the debtor(s).




                                                                           Page 1 of 2
                Case 24-41831          Doc 1       Filed 07/12/24 Entered 07/12/24 14:59:16                           Desc Main
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LOCAL FORM 1007-1
REVISED 06/16


6.   Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirements in the Statement of Financial Affairs to
     disclose all payments made, or property transferred, by or on behalf of the debtor to any person, including attorneys, for consultation
     concerning debt consolidation or reorganization, relief under bankruptcy law, or preparation of a petition in bankruptcy. I have reviewed the
     debtor’s disclosures and they are accurate and complete to the best of my knowledge.



                                                                 CERTIFICATION

        I certify that the foregoing, together with the written contract required by 11 U.S.C. §528(a)(1), is a complete statement of any agreement
or arrangement for payment to me for representation of the debtor(s) in this bankruptcy case.


Date:               07/12/2024                                                     s/ Andrew Walker
                                                                          Signature of Attorney




                                                                     Page 2 of 2
                        Case 24-41831              Doc 1         Filed 07/12/24 Entered 07/12/24 14:59:16 Desc Main
 Fill in this information to identify your case:
                                                                  Document Page 61 of 76          Check as directed in lines 17 and 21:
                                                                                                                           According to the calculations required by this
  Debtor 1                  Linda                  Rose                 Bryant                                             Statement:
                           First Name              Middle Name          Last Name
                                                                                                                           ❑ 1. Disposable income is not determined
  Debtor 2                                                                                                                    under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)      First Name              Middle Name          Last Name
                                                                                                                           ✔ 2. Disposable income is determined
                                                                                                                           ❑
                                                                                                                              under 11 U.S.C. § 1325(b)(3).
                                                                   District of Minnesota
                                                                                                                           ❑ 3. The commitment period is 3 years.
  United States Bankruptcy Court for the:

  Case number                                                                                                              ✔ 4. The commitment period is 5 years.
                                                                                                                           ❑
  (if known)

                                                                                                                           ❑ Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                 10/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known).


 Part 1: Calculate Your Average Monthly Income

 1. What is your marital and filing status? Check one only.
     ✔ Not married. Fill out Column A, lines 2-11.
     ❑
     ❑ Married. Fill out both Columns A and B, lines 2-11.
  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                                Column A              Column B
                                                                                                                Debtor 1              Debtor 2 or
                                                                                                                                      non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                  $9,519.35
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                               $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you listed
    on line 3.                                                                                                             $0.00

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1         Debtor 2

     Gross receipts (before all deductions)                                   $0.00            $0.00

     Ordinary and necessary operating expenses                      -         $0.00   -        $0.00


     Net monthly income from a business, profession, or farm                  $0.00           $0.00    Copy
                                                                                                       here →              $0.00

 6. Net income from rental and other real property                       Debtor 1         Debtor 2

     Gross receipts (before all deductions)                                   $0.00            $0.00

     Ordinary and necessary operating expenses                      -         $0.00   -        $0.00


     Net monthly income from rental or other real property                    $0.00           $0.00    Copy
                                                                                                       here →              $0.00



 Official Form 122C-1                     Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                   page 1
                        Case 24-41831                             Doc 1              Filed 07/12/24 Entered 07/12/24 14:59:16 Desc Main
Debtor 1                   Linda                          Rose                        Document
                                                                                         Bryant    Page 62 of 76    Case number (if known)
                           First Name                      Middle Name                        Last Name
                                                                                                                        Column A                    Column B
                                                                                                                        Debtor 1                    Debtor 2 or
                                                                                                                                                    non-filing spouse
 7. Interest, dividends, and royalties                                                                                                 $0.00
 8. Unemployment compensation                                                                                                          $0.00
    Do not enter the amount if you contend that the amount received was a benefit under
    the Social Security Act. Instead, list it here: ..................................................    ↓
           For you....................................................................................        $0.00
           For your spouse......................................................................
 9. Pension or retirement income. Do not include any amount received that was a benefit                                                $0.00
    under the Social Security Act. Also, except as stated in the next sentence, do not
    include any compensation, pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related injury or disability, or
    death of a member of the uniformed services. If you received any retired pay paid
    under chapter 61 of title 10, then include that pay only to the extent that it does not
    exceed the amount of retired pay to which you would otherwise be entitled if retired
    under any provision of title 10 other than chapter 61 of that title.

 10. Income from all other sources not listed above. Specify the source and amount. Do
     not include any benefits received under the Social Security Act; payments received as
     a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.




    Total amounts from separate pages, if any.                                                                         +                             +

 11. Calculate your total average monthly income. Add lines 2 through 10 for each                                               $9,519.35            +                      = $9,519.35
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                             Total average
                                                                                                                                                                            monthly income

Part 2: Determine How to Measure Your Deductions from Income

 12. Copy your total average monthly income from line 11. .................................................................................                                     $9,519.35
 13. Calculate the marital adjustment. Check one:
   ✔ You are not married. Fill in 0 below.
   ❑
   ❑ You are married and your spouse is filing with you. Fill in 0 below.
   ❑ You are married and your spouse is not filing with you.
       Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or
       your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your
       dependents.
       Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list
       additional adjustments on a separate page.
       If this adjustment does not apply, enter 0 below.




                                                                                                                 +

       Total...........................................................................................                      $0.00            Copy here. →              -          $0.00

 14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                  $9,519.35




Official Form 122C-1                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                     page 2
                        Case 24-41831                            Doc 1             Filed 07/12/24 Entered 07/12/24 14:59:16 Desc Main
Debtor 1                  Linda                          Rose                       Document
                                                                                       Bryant    Page 63 of 76    Case number (if known)
                          First Name                      Middle Name                       Last Name

 15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here →...............................................................................................................................................................               $9,519.35
              Multiply line 15a by 12 (the number of months in a year).                                                                                                                                   x 12
       15b. The result is your current monthly income for the year for this part of the form.....................................................................                                         $114,232.20

 16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                                                                    Minnesota
       16b. Fill in the number of people in your household.                                                                 1

       16c. Fill in the median family income for your state and size of household. ....................................................................................                                     $72,319.00
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

 17. How do the lines compare?

       17a.     ❑ Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11
                       U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
       17b.     ✔ Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                ❑
                       1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your
                       current monthly income from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

 18. Copy your total average monthly income from line 11. ..........................................................................................................
                                                                                                                                                                                                             $9,519.35
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the
     amount from line 13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                        -          $0.00
   19b. Subtract line 19a from line 18.                                                                                                                                                                      $9,519.35
 20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................           $9,519.35
           Multiply by 12 (the number of months in a year).                                                                                                                                          x 12
   20b. The result is your current monthly income for the year for this part of the form.                                                                                                                 $114,232.20

   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................                                                   $72,319.00

 21. How do the lines compare?
   ❑ Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
         The commitment period is 3 years. Go to Part 4.
   ✔ Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
   ❑
         check box 4, The commitment period is 5 years. Go to Part 4.

Part 4: Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


         ✘ s/ Linda Rose Bryant
               Signature of Debtor 1

               Date 07/12/2024
                         MM/ DD/ YYYY

    If you checked 17a, do NOT fill out or file Form 122C–2.
    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



Official Form 122C-1                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                  page 3
                       Case 24-41831              Doc 1         Filed 07/12/24 Entered 07/12/24 14:59:16                       Desc Main
Fill in this information to identify your case:
                                                                 Document Page 64 of 76

 Debtor 1                  Linda                  Rose              Bryant
                          First Name              Middle Name      Last Name

 Debtor 2
 (Spouse, if filing)      First Name              Middle Name      Last Name

 United States Bankruptcy Court for the:                         District of Minnesota

 Case number                                                                                                                   ❑ Check if this is an
 (if known)                                                                                                                          amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                          04/22
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
(Official Form 122C–1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write
your name and case number (if known).



Part 1: Calculate Your Deductions from Your Income


 The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the questions in
 lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This information may also be available
 at the bankruptcy clerk’s office.


 Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses if
 they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C–1, and do not
 deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.



 If your expenses differ from month to month, enter the average expense.



 Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




  5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
                                                                                                                                 1
       number of any additional dependents whom you support. This number may be different from the number of
       people in your household.




     National
     Standards             You must use the IRS National Standards to answer the questions in lines 6-7.




  6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National                                           $808.00
     Standards, fill in the dollar amount for food, clothing, and other items.


  7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in the
     dollar amount for out-of-pocket health care. The number of people is split into two categories─people who are under 65 and people
     who are 65 or older─because older people have a higher IRS allowance for health care costs. If your actual expenses are higher
     than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                                      Chapter 13 Calculation of Your Disposable Income                                                page 1
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Debtor 1                   Linda                         Rose                      Document
                                                                                      Bryant    Page 65 of 76    Case number (if known)
                           First Name                    Middle Name                      Last Name



           People who are under 65 years of age

           7a. Out-of-pocket health care allowance per person                                                  $83.00
           7b. Number of people who are under 65                                                       X         1
                                                                                                                                                 Copy
           7c. Subtotal. Multiply line 7a by line 7b.                                                          $83.00                            here →             $83.00

           People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person                                               $158.00
           7e. Number of people who are 65 or older                                                    X         0
                                                                                                                                                 Copy         +           $0.00
           7f.    Subtotal. Multiply line 7d by line 7e.                                                         $0.00                           here →

     7g.     Total. Add lines 7c and 7f. ...............................................................................................................             $83.00 Copy here →....     $83.00

     Local
     Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

     Housing and utilities – Insurance and operating expenses
     Housing and utilities – Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

8.     Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in                                                                     $607.00
       the dollar amount listed for your county for insurance and operating expenses.
9.     Housing and utilities – Mortgage or rent expenses:
           9a. Using the number of people you entered in line 5, fill in the dollar amount                                                                 $1,543.00
               listed for your county for mortgage or rent expenses.
           9b. Total average monthly payment for all mortgages and other debts secured by
               your home.

                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file for
                 bankruptcy. Next divide by 60.

                  Name of the creditor                                                          Average monthly
                                                                                                payment

                 PennyMac Loan Services LLC                                                                $1,786.00
                 Associa Minnesota                                                                            $360.00
                                                                                                   +
                                                                                                                                   Copy                          Repeat this amount
                           9b. Total average monthly payment                                               $2,146.00                                 – $2,146.00 on line 33a.
                                                                                                                                   here →

       9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent expense). If
           this number is less than $0, enter $0.                                                                                                                 $0.00     Copy here →.....     $0.00

10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                                         $0.00
    the calculation of your monthly expenses, fill in any additional amount you claim.
             Explain
             why:




Official Form 122C-2                                                          Chapter 13 Calculation of Your Disposable Income                                                                  page 2
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Debtor 1               Linda                 Rose                 Document
                                                                     Bryant    Page 66 of 76    Case number (if known)
                       First Name            Middle Name               Last Name



 11.   Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
       ❑ 0. Go to line 14.
       ✔ 1. Go to line 12.
       ❑
       ❑ 2 or more. Go to line 12.
 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating                   $243.00
     expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.
 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
     vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may
     not claim the expense for more than two vehicles.

           Vehicle 1                               2019 GMC Denali
                          Describe Vehicle 1:


       13a. Ownership or leasing costs using IRS Local Standard.......................................        $619.00
       13b. Average monthly payment for all debts secured by Vehicle 1.
             Do not include costs for leased vehicles.
             To calculate the average monthly payment here and on line 13e, add all
             amounts that are contractually due to each secured creditor in the 60
             months after you file for bankruptcy. Then divide by 60.
             Name of each creditor for Vehicle 1                   Average monthly
                                                                   payment
             Ally Financial                                                     $581.00
                                                                   +
                                                                                $581.00          Copy                   Repeat this amount
                               Total average monthly payment                                     here →   –   $581.00 on line 33b.
       13c. Net Vehicle 1 ownership or lease expense
                                                                                                              $38.00 Copy net Vehicle 1
             Subtract line 13b from line 13a. If this number is less than $0, enter $0.............                     expense here →       $38.00

           Vehicle 2    Describe Vehicle 2:


       13d. Ownership or leasing costs using IRS Local Standard.......................................
       13e. Average monthly payment for all debts secured by Vehicle 2.
             Do not include costs for leased vehicles.
             Name of each creditor for Vehicle 2                   Average monthly
                                                                   payment



                                                                   +
                                                                                                 Copy                   Repeat this amount
                               Total average monthly payment                                     here →   –             on line 33c.
       13f. Net Vehicle 2 ownership or lease expense                                                                    Copy net Vehicle 2
             Subtract line 13e from 13d. If this number is less than $0, enter $0.............                          expense here →

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct a
     public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the          $0.00
     IRS Local Standard for Public Transportation.




Official Form 122C-2                                         Chapter 13 Calculation of Your Disposable Income                                         page 3
                  Case 24-41831              Doc 1        Filed 07/12/24 Entered 07/12/24 14:59:16 Desc Main
Debtor 1           Linda                Rose               Document
                                                              Bryant    Page 67 of 76    Case number (if known)
                   First Name           Middle Name             Last Name



  Other Necessary            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                   following IRS categories.

16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-employment taxes,                                $2,359.64
    social security taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for these taxes. However, if
    you expect to receive a tax refund, you must divide the expected refund by 12 and subtract that number from the total monthly amount
    that is withheld to pay for taxes.
    Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union dues, and                                   $0.00
    uniform costs.
    Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing together,                                    $50.00
    include payments that you make for your spouse’s term life insurance.
    Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance
    other than term.

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency, such as                                      $0.00
    spousal or child support payments.
    Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

20. Education: The total monthly amount that you pay for education that is either required:                                                                                  $0.00
      as a condition for your job, or
      for your physically or mentally challenged dependent child if no public education is available for similar services.

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                                    $0.00
    Do not include payments for any elementary or secondary school education.

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is required for the                                     $0.00
    health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health savings account. Include
    only the amount that is more than the total entered in line 7.
    Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you and your                                 +        $0.00
    dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the extent
    necessary for your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by your
    employer.
    Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment expenses, such as
    those reported on line 5 of Form 122C-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                     $4,188.64
    Add lines 6 through 23.

  Additional Expense         These are additional deductions allowed by the Means Test.
  Deductions                 Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance, disability
    insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your dependents.

      Health insurance                                     $320.23
      Disability insurance                                   $0.00
      Health savings account                       +       $162.50
      Total                                                $482.73       Copy total here → ........................................................................        $482.73
     Do you actually spend this total amount?

     ❑ No. How much do you actually spend?
     ✔ Yes
     ❑
26. Continuing contributions to the care of household or family members.                                                                                                     $0.00
    The actual monthly expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
    ill, or disabled member of your household or member of your immediate family who is unable to pay for such expenses. These
    expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and your                                      $0.00
    family under the Family Violence Prevention and Services Act or other federal laws that apply.
    By law, the court must keep the nature of these expenses confidential.




Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                                                          page 4
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                       First Name                   Middle Name                     Last Name



28.   Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill in
      the excess amount of home energy costs                                                                                                                                    $0.00
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed is
      reasonable and necessary.

29.   Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58* per child)                                                $0.00
      that you pay for your dependent children who are younger than 18 years old to attend a private or public elementary or secondary
      school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.

30.   Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than the                                              $0.00
      combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and clothing
      allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this form.
      This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.

31.   Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial instruments to a +                                  $0.00
      religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).
      Do not include any amount more than 15% of your gross monthly income.

32.   Add all of the additional expense deductions.                                                                                                                           $482.73
      Add lines 25 through 31.

 Deductions for Debt Payment

33.   For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and
      other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.
                                                                                                                                          Average monthly
                                                                                                                                          payment

       Mortgages on your home
                                                                                                                                                    $2,146.00
       33a. Copy line 9b here .....................................................................................................→

       Loans on your first two vehicles
                                                                                                                                                      $581.00
       33b. Copy line 13b here ..................................................................................................→

       33c. Copy line 13e here ..................................................................................................→

       33d. List other secured debts:

           Name of each creditor for other                         Identify property that secures the                       Does payment
           secured debt                                            debt                                                     include taxes or
                                                                                                                            insurance?

                                                                                                                           ❑ No
                                                                                                                           ❑ Yes
                                                                                                                           ❑ No
                                                                                                                           ❑ Yes
                                                                                                                           ❑ No
                                                                                                                           ❑ Yes               +
                                                                                                                                                   $2,727.00    Copy total
       33e. Total average monthly payment. Add lines 33a through 33d. ...................................                                                       here→        $2,727.00




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 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for your
     support or the support of your dependents?

      ❑ No. Go to line 35.
      ✔ Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
      ❑
           possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

       Name of the creditor                                  Identify property that                              Total cure                              Monthly cure
                                                             secures the debt                                    amount                                  amount
                                                                                                                                          ÷ 60 =
                                                                                                                                          ÷ 60 =
                                                                                                                                          ÷ 60 =               +
                                                                                                                          Copy total             Total             $0.00
                                                                                                                          here →                                                           $0.00
 35. Do you owe any priority claims—such as a priority tax, child support, or alimony—that are past due as of the filing date of your
     bankruptcy case? 11 U.S.C. § 507.

      ✔ No. Go to line 36.
      ❑
      ❑ Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority claims, such as
                  those you listed in line 19.

                  Total amount of all past-due priority claims..................................................................                                                 ÷ 60

 36. Projected monthly Chapter 13 plan payment                                                                                                                $0.00
           Current multiplier for your district as stated on the list issued by the Administrative Office of the
           United States Courts (for districts in Alabama and North Carolina) or by the Executive Office for
           United States Trustees (for all other districts).
           To find a list of district multipliers that includes your district, go online using the link specified in
           the separate instructions for this form. This list may also be available at the bankruptcy clerk’s
           office.                                                                                                                                       X         9.70%


                                                                                                                                                                                Copy
                                                                                                                                                                   $0.00        total
           Average monthly administrative expense
                                                                                                                                                                                here →     $0.00

 37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                                               $2,727.00


Total Deductions from Income


 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS expense allowances ....................................                                              $4,188.64

      Copy line 32, All of the additional expense deductions....................................................................                                   $482.73

      Copy line 37, All of the deductions for debt payment.......................................................................                            + $2,727.00
                                                                                                                                                                             Copy
                                                                                                                                                             $7,398.37       total       $7,398.37
      Total deductions..............................................................................................................................                         here →




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Part 2: Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)


39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
    Statement of Your Current Monthly Income and Calculation of Commitment Period.                                           ................................................................       $9,519.35

40. Fill in any reasonably necessary income you receive for support for dependent children.                                                  $0.00
    The monthly average of any child support payments, foster care payments, or disability
    payments for a dependent child, reported in Part I of Form 122C-1, that you received in
    accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
    expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your                                                  $0.00
    employer withheld from wages as contributions for qualified retirement plans, as specified in
    11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
    specified in 11 U.S.C. § 362(b)(19).

42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here .... →                                         $7,398.37

43. Deduction for special circumstances. If special circumstances justify additional expenses
    and you have no reasonable alternative, describe the special circumstances and their
    expenses. You must give your case trustee a detailed explanation of the special
    circumstances and documentation for the expenses.

         Describe the special circumstances                                 Amount of expense




                                                                                  +

                                                                                             $0.00       Copy here
                                                               Total                                     →                   +            $0.00

                                                                                                                                                                                                –     $7,398.37
44. Total adjustments. Add lines 40 through 43........................................................................              $7,398.37                          Copy here →



45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                                       $2,120.98

Part 3: Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have
    changed or are virtually certain to change after the date you filed your bankruptcy petition and during the time your
    case will be open, fill in the information below. For example, if the wages reported increased after you filed your
    petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill
    in when the increase occurred, and fill in the amount of the increase.

   Form             Line           Reason for change                                                                     Date of change             Increase or                  Amount of change
                                                                                                                                                    decrease?
 ❑ 122C-1                                                                                                                                           ❑ Increase
 ❑ 122C-2                                                                                                                                           ❑ Decrease
 ❑ 122C-1                                                                                                                                           ❑ Increase
 ❑ 122C-2                                                                                                                                           ❑ Decrease




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Part 4: Sign Below



    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


       ✘ s/ Linda Rose Bryant
           Signature of Debtor 1

           Date 07/12/2024
                  MM/ DD/ YYYY




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF MINNESOTA
                                                          MINNEAPOLIS DIVISION

IN RE: Bryant, Linda Rose                                                             CASE NO

                                                                                      CHAPTER 13




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     07/12/2024             Signature                              s/ Linda Rose Bryant
                                                                        Linda Rose Bryant, Debtor
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                            ALLY FINANCIAL
                            PO BOX 380901
                            BLOOMINGTON, MN 55438




                            AMAZON PRIME
                            1260 MERCER ST
                            SEATTLE, WA 98109




                            AMERICAN EXPRESS
                            GENERAL INQUIRIES
                            PO BOX 981535
                            EL PASO, TX 79998-1535



                            ASSOCIA MINNESOTA
                            7100 NORTHLAND CIRCLE NORTH # 300
                            BROOKLYN PARK, MN 55428




                            BARCLAYS BANK DELAWARE
                            125 S WEST ST
                            WILMINGTON, DE 19801-5014




                            BEST BUY/CBNA
                            MAIL CODE 234
                            5800 S CORPORATE PL
                            SIOUX FALLS, SD 57108-5027



                            CAPITAL ONE BANK (USA),
                            N.A.
                            ATTN: GENERAL CORRESPONDENCE
                            PO BOX 30285
                            SALT LAKE CITY, UT 84130-0285


                            CITI BANK N.A.
                            GENERAL CORRESPONDENCE
                            PO BOX 6500
                            SIOUX FALLS, SD 57117
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                            DISCOVER BANK
                            PO BOX 15316
                            WILMINGTON, DE 19850-5316




                            FNB OMAHA
                            PO BOX 3128
                            OMAHA, NE 68103-0128




                            GOLDMAN SACHS BANK USA
                            200 WEST ST
                            NEW YORK, NY 10282-2102




                            INTERNAL REVENUE SERVICE
                            PO BOX 7346
                            PHILADELPHIA, PA 19101-7346




                            JPMCB - CARD SERVICES
                            301 N WALNUT ST FL 09
                            WILMINGTON, DE 19801-3971




                            M HEALTH FAIRVIEW
                            400 STINSON BLVD NE
                            MINNEAPOLIS, MN 55413-2613




                            MINNESOTA DEPARTMENT OF
                            REVENUE
                            551 BKCY SECTION
                            PO BOX 64447
                            ST PAUL, MN 55164


                            MOHELA/DEPT OF ED
                            633 SPIRIT DR
                            CHESTERFIELD, MO 63005-1243
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                            NELNET EDUCATION
                            GENERAL CORRESPONDENCE
                            PO BOX 82561
                            LINCOLN, NE 68501-2561



                            PENNYMAC LOAN SERVICES
                            LLC
                            ATTN: CORRESPNDENCE UNIT
                            PO BOX 514387
                            LOS ANGELES, CA 90051


                            PROSPER FUNDING LLC
                            221 MAIN ST STE 300
                            SAN FRANCISCO, CA 94105-1909




                            SAMS CLUB/SYNCHRONY
                            BANK
                            ATTN: BANKRUPTCY DEPT
                            PO BOX 965060
                            ORLANDO, FL 32896-5060


                            TARGET/TD BANK, USA, N.A.
                            ATTN: TARGET CARD SERVICES
                            PO BOX 1331
                            MINNEAPOLIS, MN 55440-1331



                            THD/CBNA
                            ONE COURT SQUARE
                            LONG ISLAND CITY, NY 11120-0001




                            UNITED STATES TRUSTEE
                            300 S 4TH ST STE 1015
                            MINNEAPOLIS, MN 55415-2247




                            US BANK
                            800 NICOLLET MALL
                            MINNEAPOLIS, MN 55402
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                            WALKER & WALKER LAW
                            OFFICES, PLLC
                            4356 NICOLLET AVE
                            MINNEAPOLIS, MN 55409
